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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
      corporation1,                                       Chapter 11 Cases
12
12
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              NOTICE OF DEBTORS’ ASSUMPTION
                                                          AND ASSIGNMENT OF CERTAIN
15
15    ICPW Liquidation Corporation, a Nevada              EXECUTORY CONTRACTS AND
                                                          UNEXPIRED LEASES TO BRIGHTON-
16    corporation2,
16                                                        BEST INTERNATIONAL, INC.

17
17             Debtor and Debtor in Possession.
      ____________________________________
18
18
           Affects both Debtors
19
19
20      Affects ICPW Liquidation Corporation, a
20
      California corporation only
21
21
        Affects ICPW Liquidation Corporation, a
22
22    Nevada corporation only
23
23
24
24
25
25
26
26
27
27
      1
28
28        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
                                                      1
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 11          TO PARTIES TO ASSUMED AND ASSIGNED EXECUTORY CONTRACTS

 22   AND UNEXPIRED LEASES:

 33          PLEASE TAKE NOTICE that, as of November 14, 2017, the executory contracts and

 44   unexpired leases listed below have been assumed by ICPW Liquidation Corporation, a California

 55   corporation, formerly known as Ironclad Performance Wear Corporation, a California

 66   corporation, and ICPW Liquidation Corporation, a Nevada corporation, formerly known as

 77   Ironclad Performance Wear Corporation, a Nevada corporation (collectively, the “Debtors”), and

 88   assigned to Brighton-Best International, Inc. (“BBI”), pursuant to 11 U.S.C. § 365 and that

 99   certain Order: (1) Approving Sale Of Substantially All Of The Debtors’ Assets Free And Clear
10
10    Of All Encumbrances; (2) Approving The Debtors’ Assumption And Assignment Of Certain
11
11    Unexpired Leases And Executory Contracts And Determining Cure Amounts And Approving The
12
12    Debtors’ Rejection Of Unexpired Leases And Executory Contracts Which Are Not Assumed; (3)
13
13    Waiving The 14-Day Stay Periods Set Forth In Bankruptcy Rules 6004(h) And 6006(d); And (4)
14
14    Granting Related Relief (Docket No. 177).
15
15           PLEASE TAKE FURTHER NOTICE that any and all cure amounts authorized and
16
16    directed to be paid in connection with the assumed and assigned executory contracts and
17
17    unexpired leases, have been paid.
                                                        Description of Assumed and Assigned
18
18     Contracting Party Name
                                                                       Contract
19
19                                                  Industrial Multi-Tenant Lease of 1920 Hutton
       1920 Hutton Court                            Court
20
20     Abel Unlimited, Inc.                         License Agreement
       Ace Hardware                                 Customer Contract
21
21
       Advantage Media Services                     Logistics and Warehousing Agreement
22
22     Amazon                                       Customer Contract
       AML United Limited                           Vendor Contract
23
23     Big Time Products, LLC                       License Agreement
24
24     Bunzl USA Holdings, LLC                      License Agreement
       Cabela's                                     Customer Contract
25
25     Cestusline, Inc.                             License Agreement
       Custom Leathercraft Mfg. LLC                 License Agreement
26
26
       Design Gallery (Pvt.) Ltd.                   Vendor Contract
27
27     DESUN GARMENTS, LTD.                         Vendor Contract
       DNOW                                         Customer Contract
28
28     DNOW L.P.                                    License Agreement

                                                    2
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 11                                                    Description of Assumed and Assigned
       Contracting Party Name
                                                                     Contract
 22
       Do It Best                                  Customer Contract
 33    Duluth Trading                              Customer Contract
       Emery Waterhouse                            Customer Contract
 44    Essendant (USSCO)                           Customer Contract
 55    Glenfir                                     Customer Contract
       Impacto Protective Products, Inc.           License Agreement
 66    Ka Hung Glove Industrial Co. Ltd.           Vendor Contract
       Konica Minolta                              Agreement regarding printers
 77
       Liberty Glove, Inc.                         License Agreement
 88    Magpul Industries Corp.                     License Agreement
       MARUSAN - MIMASU TSHUSHO CO.
 99    LTD.                                        Vendor Contract
       Menards                                     Customer Contract
10
10
       MERCINDO GLOBAL MANUFAKTUR                  Vendor Contract
11
11     NANTONG CHANGBANG GLOVES CO.                Vendor Contract
       Pitney Bowes                                Agreement regarding postage meter
12
12     PT JJ GLOVES INDO                           Vendor Contract
13
13     PT SEOK HWA INDONESIA                       Vendor Contract
       PT SPORT GLOVE INDONESIA                    Vendor Contract
14
14     Refrigiwear, Inc.                           License Agreement
       Ringers Technologies LLC                    License Agreement
15
15
       RPS Solutions                               License Agreement
16
16     Safety Supply Corporation                   License Agreement
       Saf-T-Glove                                 License Agreement
17
17     Sees Global Inc.                            Vendor Contract
18
18     Select (Nantong) Safety Products Co         Vendor Contract
       Southern Glove                              License Agreement
19
19     Synetra                                     Internet Technology Service Contract
       True Value                                  Customer Contract
20
20     WINDSPEED SPORTS SHANGHAI CO.,
21
21     LTD.                                        Vendor Contract
       WONEEL MIDAS LEATHERS                       Vendor Contract
22
22     Worldwide                                   Customer Contract
23
23    Dated: November 27, 2017         ICPW LIQUIDATION CORPORATION, et al.
24
24
                                             By:      /s/ Krikor J. Meshefejian
25
25                                                    RON BENDER
                                                      MONICA Y. KIM
26
26                                                    KRIKOR J. MESHEFEJIAN
                                                      LEVENE, NEALE, BENDER,
27
27                                                    YOO & BRILL L.L.P.
28
28                                                    Attorneys for Debtors and
                                                      Debtors in Possession
                                               3
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled NOTICE OF DEBTORS’ ASSUMPTION AND
      ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO
  4   BRIGHTONBEST INTERNATIONAL, INC. will be served or was served (a) on the judge in chambers in
      the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On November 27, 2017, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  8
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
  9            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 10            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 11            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 12            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 13             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 14             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 15            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 16            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 17            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 18
      2. SERVED BY UNITED STATES MAIL: On November 27, 2017, I served the following persons and/or
 19   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 20   completed no later than 24 hours after the document is filed.
 21
                                                                              Service information continued on attached page
 22
 23   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 24   on November 27, 2017, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 25   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       November 27, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
  6    Date                                 Type Name                                    Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Bunzl USA Holdings, LLC (Cordova Safety    Abel Unlimited Inc. (Ironwear)      Big Time Products, LLC (includes Apollo
Products, John Tillman Co.)                2020 Seabird Way                    Performance Gloves)
Once City Place Drive                      Riviera Beach, FL 33404             2 Wilbanks Road SE
Suite 200                                                                      Rome, GA 30161
St. Louis, MO 63141


DNOW L.P. (Skatiq Gloves)                  Cestusline, Inc.                    Custom Leathercraft Mfg. LLC
7402 N. Eldridge Parkway                   13818 NE Airport Way                10240 S. Alameda Street
Houston, TX 77041                          Portland, OR 97230                  South Gate, CA 90280




Magpul Industries Copr.                    Impacto Protective Products, Inc.   Liberty Glove, Inc.
8226 Bee Cave Road                         40 Dussek Street                    433 Cheryl Lane
Austin, TX 78746                           Belleville, ON K8N 5R8              City of Industry, CA 91789
                                           CANADA



Ringers, Inc.                              RPS Solutions                       Refrigiwear, Inc.
8846 North Sam Houston Parkway West        726 Donald Preston Drive            54 Breakstone Drive
Houston, TX 77064                          Wolfforth, TX 79382                 Dahlongega, GA 30533




Saf-T-Glove                                Southern Glove                      Safety Supply Corporation (Radians)
1121 Fountain Parkway                      749 AC Little Drive                 880 North Hills Blvd.
Grand Prairie, TX 75050                    Newton, NC 28658                    Suite 505
                                                                               Reno, NV 89506



Advantage Media Services, Inc.             Mercindo Global Manufaktur          Nantong Changbang Gloves Co.
Attn: Steven Helmle                        Attn: Danny Negara                  Attn: Eliza Yang
29010 Commerce Center Drive                Jl. Raya Semarang-Bawen Km.29       Flat/RM 1602 Chit Lee Comm
Valencia, CA 91355                         SEemerang, Central Java             Bldg 30-36, Shau Kei Wan Road
                                           50661, Indonesia                    Hong Kong, China


Ka Hung Glove Inustrial Co. Ltd.           PT JJ GLOVES INDO                   PT SPORT GLOVE INDONESIA
Attn: Ms. Vicz Yue                         Attn: Kwong                         Attn: Mark Robba
Fujian Quanzhou Jiacheng Leather           JL Ronggowarsito, Mlese, Ceper      Krandon Desa Pandowoharjo Sleman
Chi Feng Road, Quanzhou City               Bonded Zone, Klaten                 Yogyakarta, Indonesia, 55512
Fujian, 362000, China                      Central Java, Indonesia, 57463


Marusan - Mimasu Tshusho Co. Ltd.          1920 Hutton Court                   Synetra
Attn: Sky Lin                              Attn: Johnny Clark                  Attn: John Calhoun
No 1 Queen' Road Central                   Inwood National Bank                1110 E. State Highway 114
Hong Kong                                  P O Box 857413                      Suite 200
China                                      Richardson, TX 75085                Southlake, TX 76092


Woneel Midas Leathers                      DESIGN GALLERY (PVT.) LTD.          Winspeed Sports Shanghai Co., Ltd.
Attn: Janice Lee                           PLOT #322/B, MEDICAL ROAD           Attn: Bradley J. S. Weiss
Jl Gembor Raya Desa Pasirjaya              HELAL MARKET, UTTARKHAN             858 Mingzhu Road
Tangerang                                  DHAKA-1230, Bangladesh,             Shanghai
Banten, Indonesia, 15135                                                       China, 00020-1702


DESUN GARMENTS, LTD.                       Pitney Bowes Credit Corp.           PT SEOK HWA INDONESIA
89/1, Birulia Road, Savar, Dhaka           P.O.Box 371887                      Room 1218, Krantz Techno Bldg.
Dhaka                                      Pittsburg, PA 15250-7887            5442-1 Sang Dae Won-Dong, Sung Nam
Savar-1340, Bangladesh,                                                        Kyung Gi-Do, Indonesia, 00046-2819
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Ace Hardware                        AML United Limited                    Advantage Media Services
2222 Kensington St.                 29th Floor, Nanyang Plaza             29120 Commerce Center Drive #2
Oak Brook, IL 60523                 57 Hung To Road, Kwun Tong, Kowloon   Valencia, CA 91355
                                    Hong Kong, China



Amazon                              Duluth Trading                        DNOW
410 Terry Ave. North                PO Box 409170                         PO Box 40985
Seattle, WA 98109                   Belleville, WI 53508                  Houston, TX 77240




Cabela's                            Konica Minolta Business Solutions     Emery Waterhouse
1 Cabela Dr.                        100 Williams Drive                    7 Rand Rd.
Sidney, NE 69160                    Ramsey, NJ 07446                      Portland, ME 04104




Do It Best                          True Value                            Glenfir
6502 Nelson Road                    8600 W. Bryn Mawr Avenue              General French 1948
Fort Wayne, IN 46803                Chicago, IL 60631                     Montevideo, Uruguay 11500




Essendant USSCO                     Worldwide                             Sees Global Inc.
1 Parkway North Blvd., Suite 100    PO Box 88607                          #612 Suntec City 307-2
Deerfield, IL 60015                 Seattle, WA 98138                     Sandaewon-dong, Jungwon-gu
                                                                          Seongnam, Kyunggi, KO, 46273-6000



Menards                             Select Nantong Safety Products Co
5101 Menard Dr.                     No. 198 Youyi Road W
Eau Claire, WI 54703                Jueguang, Rudong, Jiangsu
                                    226400, China
